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 1   WILLKIE FARR & GALLAGHER LLP
     BENEDICT Y. HUR (SBN: 224018)
 2     bhur@willkie.com
     SIMONA AGNOLUCCI (SBN: 246943)
 3
        sagnolucci@willkie.com
 4   EDUARDO E. SANTACANA (SBN: 281668)
       esantacana@willkie.com
 5   LORI C. ARAKAKI (SBN: 315119)
       larakaki@willkie.com
 6   ARGEMIRA FLOREZ (SBN: 331153 )
       aflorez@willkie.com
 7

 8   Attorneys for
     GOOGLE LLC
 9

10                             UNITED STATES DISTRICT COURT

11                          NORTHERN DISTRICT OF CALIFORNIA

12                                           SAN FRANCISCO

13   ANIBAL RODRIGUEZ, et al., individually and      Case No. 3:20-cv-04688-RS
     on behalf of all others similarly situated,
14                                                   DEFENDANT GOOGLE LLC’S MOTION
                               Plaintiffs,           TO DISMISS SECOND AMENDED
15                                                   COMPLAINT PURSUANT TO FED. R.
           vs.
                                                     CIV. P. 12(B)(6), AND IN THE
16
     GOOGLE LLC,                                     ALTERNATIVE, MOTION TO STRIKE
17                                                   PURSUANT TO FED. R. CIV. P. 12(F)
                               Defendant.
18                                                   Date:     August 12, 2021
                                                     Time:     1:30 p.m.
19                                                   Place:    Courtroom 3 - 17th Floor
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        DEFENDANT GOOGLE’S NOTICE OF MOTION AND MOTION TO DISMISS SECOND
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 1          TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 2          Please take notice that, on August 12, 2021 at 1:30 p.m., or as soon thereafter as the matter
 3   may be heard before the Honorable Richard Seeborg of the United States District Court for the
 4   Northern District of California at the San Francisco Courthouse, Courtroom 3, 17th Floor, 450

 5   Golden Gate Avenue, San Francisco, CA 94102, Defendant Google LLC will, and hereby does,

 6   move this Court, pursuant to Rules 8(a), 9(b), 12(b)(6), and 12(f) of the Federal Rules of Civil

 7   Procedure, for an order dismissing Counts One and Two of Plaintiffs’ Second Amended

 8   Complaint (“SAC”).

 9          The Motion is based on this Notice of Motion and Motion, the attached Memorandum of

10   Points and Authorities, the pleadings and other papers on file in this action, any oral argument,
11   and any other evidence that the Court may consider in hearing this Motion.
12          Google requests that the Court dismiss Plaintiffs’ breach of contract claim and California
13   Invasion of Privacy section 631 claim with prejudice.
14                                 Statement of Issues to be Decided (L.R. 7-4)
15   1. Whether the SAC’s three isolated mentions of AdMob and Cloud Messaging—without
16   accompanying factual allegations describing those products or which aspects of their functionality
17   are unlawful—is sufficient to plead any causes of action as to those two products upon which relief
18   can be granted under Federal Rule of Civil Procedure 12(b)(6).
19   2. Whether Plaintiffs fail to state a breach of contract claim upon which relief can be granted under

20   Federal Rule of Civil Procedure 12(b)(6).

21   3. Whether Plaintiffs fail to state a California Invasion of Privacy claim under California Penal Code

22   section 631 upon which relief can be granted under Federal Rule of Civil Procedure 12(b)(6).

23   4. Whether Plaintiffs’ request for consequential damages and non-restitutionary disgorgement for

24   breach of contract should be stricken pursuant to Federal Rule of Civil Procedure 12(f).

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 1   Dated: June 25, 2021                    Respectfully submitted,

 2                                           WILLKIE FARR & GALLAGHER LLP
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 4                                           By:   /s/ Benedict Y. Hur
                                                   Benedict Y. Hur
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 1                         MEMORANDUM OF POINTS AND AUTHORITIES
 2   I.      INTRODUCTION
 3            After promising the Court they had more facts to support their “secret scripts” theory,

 4   Plaintiffs have excised that theory from the case entirely. In its stead, they’ve tacked on the names

 5   of two new products everywhere they mention Google Analytics for Firebase (GA for Firebase),

 6   without explanation. There are no factual allegations concerning either of these two new products—

 7   AdMob and Cloud Messaging for Firebase. (AdMob isn’t a Firebase product at all.) The Court

 8   should strike these products from the Second Amended Complaint or dismiss the claims as applied

 9   to these products to avoid an unjustified expansion of discovery. The Court found that Plaintiffs

10   pleaded a plausible theory relating to GA for Firebase, but nothing else. Plaintiffs should not be

11   permitted to triple the scope of discovery by throwing in two other products with no explanation.

12            Similarly, Plaintiffs have abandoned their Wiretap Act claim. In its place, Plaintiffs assert a

13   new breach of contract and implied contract claim based on non-contractual “commitments” they

14   allege Google made. This is an attempt to plead around the Court’s ruling, and to jettison the

15   elements of their true claims because they can’t allege them adequately. Plaintiffs aren’t really

16   alleging any contract claim here: theirs is simply a complaint that the description of a product feature

17   provided after any contract was executed was ambiguous and misleading. Plaintiffs have failed to

18   identify a contractual obligation, much less one that Google breached. Nor would it get them

19   anything: the contract they purport to rely upon contains a limitation on liability clause that prevents

20   them from obtaining anything more than nominal damages.

21            Finally, Plaintiffs’ amended complaint excises various allegations, and clarifies others, to

22   comport with what they’ve learned in discovery. In so doing, Plaintiffs have pleaded themselves out

23   of their CIPA section 631 claim. While the Court allowed that claim to proceed on the last motion

24   to dismiss, the amended allegations in the new complaint are fatal to that claim because Plaintiffs’

25   allegations regarding the functionality of GA for Firebase take it outside the ambit of section 631,

26   which only applies to “interception” of communications while they are “in transit,” and not, as

27   Plaintiffs allege, when they are duplicated on the device and subsequently sent to Google.

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 1   II.   BACKGROUND AND RELEVANT PROCEDURAL HISTORY
 2         A.      Background

 3          The entirety of Plaintiffs’ factual allegations remain the same. Google LLC (Google) is a
 4   technology company that offers a multitude of services and products—some are enterprise-facing
 5   and offered to businesses like app developers, and others are offered directly to users. ECF No. 113
 6   (Second Amended Complaint (“SAC”)) ¶¶ 23, 40. The Firebase Software Development Kit
 7   (Firebase SDK) is an example of an enterprise-facing product. SAC ¶ 40. As this Court put it,
 8   Firebase SDK is “[b]est understood as a digital ‘toolkit,’ . . . compris[ing] eighteen distinct ‘tools’”
 9   that app developers can use to build and maintain an app. ECF No. 109 (Order on Google’s Motion
10   to Dismiss Plaintiffs’ First Amended Complaint (“MTD Order”) at 4. One of the eighteen Firebase
11   SDK tools is GA for Firebase. Id.; SAC ¶ 6. It is optional, and if an app developer chooses to use it,
12   GA for Firebase will record certain user app-interaction data to send to Google for analysis. MTD
13   Order at 4; SAC ¶¶ 50, 52, 55. This Court dismissed Plaintiffs’ federal Wiretap Act claim because
14   app developers necessarily consent to the use of GA for Firebase to log app-interaction data. MTD
15   Order at 12. Developers who choose to use GA for Firebase are also required to obtain the consent
16   of their users for the incorporation of GA for Firebase. Id. at 5.
17          While GA for Firebase is a tool for developers, Web & App Activity (WAA) is an account-
18   level setting for Google users. E.g., SAC ¶ 62. Google tells users that WAA enables them to allow
19   Google to save your activity on Google “sites and apps” to your Google account in order to provide
20   users with better recommendations and service. SAC ¶¶ 71–73. In its Order granting in part and
21   denying in part Google’s Motion to Dismiss the First Amended Complaint, the Court took judicial
22   notice of and analyzed the documents that formed the basis of Plaintiffs’ claims: Google’s Privacy
23   Policy, documents to which the Privacy Policy links that further describe Google’s Privacy Policy,
24   and Google’s public description of WAA and how it works. See generally MTD Order.
25         B.      Procedural History
26          Plaintiffs filed this case almost a year ago, on July 14, 2020. Rather than respond to Google’s
27   first motion to dismiss, Plaintiffs filed an amended complaint advancing six claims for relief, under
28   (i) section 2511(1)(a) of the Wiretap Act, (ii) sections 631 and 632 of the California Invasion of
                                                       2
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 1   Privacy Act (CIPA), (iii) the California Computer Data Access and Fraud Act (CDAFA),

 2   (iv) California’s common law right against intrusion upon seclusion, (v) California’s constitutional

 3   proscription of invasion of privacy, and (vi) California’s Unfair Competition Law (UCL). ECF

 4   No. 60 (First Amended Complaint (“FAC”)) at 65–77. Plaintiffs’ amendment did not change the

 5   fundamental allegations in the case. Google moved to dismiss again. ECF No. 62 (MTD FAC).

 6          On May 21, 2021, the Court issued its order granting Google’s motion to dismiss in part and

 7   denying in part. As a “threshold” matter, the Court determined that Plaintiffs’ claims arise from two

 8   theories of liability—one concerning the disclosed functionality of GA for Firebase, and the other

 9   from secret functionality. MTD Order at 1, 7. Plaintiffs’ primary theory was that Google’s liability

10   arises from the GA for Firebase tool “that, when functioning as advertised in a given app” sends

11   Google information about an individual’s app interactions in contravention of the user-facing

12   statements about WAA. Id. at 1. As for their “secret scripts” theory, Plaintiffs alleged a nefarious

13   and surreptitious feature of Firebase SDK that “trawls for data on Google’s behalf unbeknownst to

14   users and app developers alike.” Id. Although allegedly surreptitious, the supposed “secret” scripts

15   collect “strikingly similar” information to GA for Firebase. Id. at 6. As the Court observed,

16   Plaintiffs’ counsel “carefully walked back” the FAC’s “most sensational accusation” concerning

17   secret scripts at the hearing. Id. at 11–12. The Court held that Plaintiffs’ “secret scripts” theory is

18   “woefully underdeveloped,” “wilts under Rule 9(b) scrutiny, and has no bearing on the claim-

19   specific analysis.” Id. at 12. The Court made additional “threshold determinations” that “developers

20   did consent to . . . data collection” by GA for Firebase and “plaintiffs did not consent to Google

21   collecting their data, through GA for Firebase, with WAA turned ‘off.’” Id. at 7.

22          In addition to dismissing Plaintiffs’ secret scripts theory in its entirety, the Court dismissed

23   Plaintiffs’ Wiretap Act claim based on the existence of developer consent, and dismissed the UCL

24   claim for lack of UCL standing. MTD Order at 12, 17. The Court also dismissed Plaintiffs’ CIPA

25   claim under section 632 because Plaintiffs failed to plead unique, definite circumstances rebutting

26   the “presumption that [i]nternet communications do not reasonably give rise to [an] expectation”

27   that the conversation is not being recorded. Id. at 13–14 (citation omitted). The Court declined to

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 1   dismiss the CIPA claim under section 631 because Plaintiffs alleged that Google intercepted their

 2   communications with apps. Id. at 13. The Court granted Plaintiffs leave to amend.

 3          C.        Plaintiffs’ Second Amended Complaint

 4           On June 11, 2021, Plaintiffs filed their Second Amended Complaint. There are three
 5   principal differences in the allegations of the Second Amended Complaint as compared to the First
 6   Amended Complaint.
 7               1.         Every mention of Plaintiffs’ “secret scripts” theory in the First Amended
                            Complaint has been stricken. ECF No. 112-5 (SAC Redline to FAC) ¶¶ 3, 7,
 8                          44, 53, 55, 58, 65, 109, 121, 135, 137.
 9
                 2.         In three places where the SAC mentions GA for Firebase as a product that
10                          “cause[s] the copying and duplication of browsing data to be sent to Google”
                            through a “backdoor[]” in Firebase SDK, Plaintiffs threw in a reference to
11                          “AdMob and Cloud Messaging for Firebase.” SAC ¶¶ 6, 58, 245. Apart from
                            those three mentions, the SAC doesn’t discuss those products at all.1
12
                 3.         Where the FAC formerly discussed the agent doing the intercepting as either
13                          “apps” or “secret scripts,” it now identifies the agent as the user’s “device.”
14                          SAC Redline to FAC ¶¶ 7, 13, 46, 52, 53, 55, 56, 58, 118, 121.

15           While some references to the “secret scripts” theory were excised entirely, and others were

16   asserted in the exact same manner but without using the word “secret,”2 in many other places, the

17   mention of secret scripts was replaced by either the above-described reference to “AdMob and

18   Cloud Messaging,” or the above-described reference to “device.”

19           As for the FAC’s causes of action, although Plaintiffs were given leave to amend their

20   dismissed claims, Plaintiffs made no attempt to salvage their Wiretap Act, UCL, or CIPA section

21   632 claims. None of them appear in the SAC. Instead, Plaintiffs replaced the Wiretap Act claim

22   with a breach of contract claim. See SAC ¶¶ 236–49. Plaintiffs allege that Google made

23   “commitments” in the Privacy Policy, a Google help center webpage titled “Find & control your

24

25   1
       Paragraph 51 does describe that GA for Firebase is able to log activity generated by Cloud
26   Messaging, but it doesn’t describe Cloud Messaging itself, or any aspect of it that is both separate
     from GA for Firebase and responsible for any of the violations asserted in the SAC.
27   2
       To the extent Plaintiffs are re-alleging the existence of secret scripts, the Court should dismiss the
28   theory again, since Plaintiffs didn’t add any allegations on this score.
                                            4
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 1   Web & App Activity,”3 and a settings page on Android devices that describes WAA. SAC ¶¶ 238,

 2   240, 241. Plaintiffs assert that these “commitments, either standing alone or as incorporated into

 3   Google’s Terms of Service and/or Privacy Policy, constitute express promises by Google” that

 4   Plaintiffs now seek to enforce. SAC ¶ 242. Plaintiffs allege that these commitments were made to

 5   “induce users” to turn off WAA and “continue to use Google Services,” which Plaintiffs allege

 6   accrued to Google’s benefit “not only in its effect of helping to retain such users, but also in allowing

 7   Google to accrue goodwill” with its privacy controls. SAC ¶ 243. Plaintiffs plead in the alternative

 8   that Plaintiffs and Google entered “implied contracts, separate and apart from Google’s Terms of

 9   Service,” placing on Google the same contractual obligations alleged with respect to the express

10   commitments on which Plaintiffs sue. SAC ¶ 244. To satisfy the damage element of their contract

11   claim, Plaintiffs plead that they “paid valuable consideration in the form of personal information . .

12   . which has ascertainable value to be proven at trial.” SAC ¶ 248.

13           Plaintiffs thus now have these five remaining claims: (i) breach of (express or implied)

14   contract, (ii) violation of CIPA section 631, (iii) violation of CDAFA, (iv) common law intrusion

15   upon seclusion, and (v) common law invasion of privacy.

16   III.   LEGAL STANDARD
17           A motion to dismiss under Rule 12(b)(6) of the Federal Rules of Civil Procedure tests the
18   legal sufficiency of the claims alleged in the complaint. Navarro v. Block, 250 F.3d 729, 732 (9th
19   Cir. 2001). Rule 8(a) requires plaintiffs to plead each claim with sufficient specificity to “give the

20   defendant fair notice of what the . . . claim is and the grounds upon which it rests.” Bell Atl. Corp.

21   v. Twombly, 550 U.S. 544, 555 (2007).4 Dismissal is proper as a matter of law where there is a “lack

22   of a cognizable legal theory” or an “absence of sufficient facts alleged under

23

24

25   3
      The version Plaintiffs last viewed appears to have been titled “See and Control your Web & App
26   Activity,” but the hyperlink Plaintiffs incorporated in footnote 68 leads to a page called “Find &
     control your Web & App Activity.” SAC ¶ 240 & n.68.
27   4
      Unless otherwise noted, emphases are added; all internal quotation marks and citations have been
28   omitted unless otherwise indicated.
                                            5
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 1   a cognizable legal theory.” Williams v. Facebook, Inc., 384 F. Supp. 3d 1043, 1048 (N.D. Cal. 2018)

 2   (quoting Balistreri v. Pacifica Police Dep’t, 901 F.2d 696, 699 (9th Cir. 1990)).

 3          To survive a motion to dismiss, a complaint must offer “more than labels and conclusions”;

 4   “a formulaic recitation of the elements of a cause of action will not do.” Twombly, 550 U.S. at 555.

 5   If the plaintiffs’ allegations do not bring their “claims across the line from conceivable to plausible,

 6   [the] complaint must be dismissed.” Id. at 570. And fairness dictates that a claim unsupported by

 7   factual allegations establishing a plausible entitlement to the relief requested should be dismissed

 8   before the parties engage in “costly and protracted discovery.” Id. at 558.

 9          Claims based on allegations of fraud are subject to a heightened pleading requirement under

10   Federal Rule of Civil Procedure 9(b). “In alleging fraud or mistake, a party must state with

11   particularity the circumstances constituting fraud or mistake.” Fed. R. Civ. P. 9(b). “To satisfy this

12   requirement, a pleading must identify ‘the who, what, when, where, and how of the misconduct

13   charged.’” United States ex rel. Anita Silingo v. WellPoint, Inc., 904 F.3d 667, 677 (9th Cir. 2018).

14   The allegations “must be specific enough . . . so that [defendants] can defend against the charge and

15   not just deny that they have done anything wrong.” Id. (quoting Bly-Magee v. California, 236 F.3d

16   1014, 1019 (9th Cir. 2001)). This heightened pleading standard not only serves to give defendants

17   notice of their alleged misconduct, but also serves “‘to deter the filing of complaints as a pretext for

18   the discovery of unknown wrongs, to protect [defendants] from the harm that comes from being

19   subject to fraud charges, and to prohibit plaintiffs from unilaterally imposing upon the court, the

20   parties and society enormous social and economic costs absent some factual basis.’” Id. (quoting

21   Bly-Magee, 236 F.3d at 1019).

22          Finally, Rule 12(f) provides that a court may “strike from a pleading . . . any redundant,

23   immaterial, impertinent, or scandalous matter.” Fed. R. Civ. P. 12(f). “[T]he function of a Rule

24   12(f) motion to strike is to avoid the expenditure of time and money that must arise from litigating

25   spurious issues by dispensing with those issues prior to trial[.]” Fantasy, Inc. v. Fogerty, 984 F.2d

26   1524, 1527 (9th Cir. 1993), rev'd on other grounds, 510 U.S. 517 (1994).

27

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 1   IV.    ARGUMENT
 2          A.     Plaintiffs’ claims based on AdMob and Cloud Messaging are as
                   underdeveloped as their “secret scripts” theory and should be dismissed.
 3
             Plaintiffs’ claims must be “sufficiently detailed to give fair notice to the opposing party of
 4
     the nature of the claim so that the party may effectively defend against it[.]” ROTFL Prods., LLC v.
 5
     Gzebb, No. 13-cv-0293 RS, 2013 WL 12181763, at *2 (N.D. Cal. Aug. 5, 2013). While Rule 8’s
 6
     pleading standard “does not require ‘detailed factual allegations,’ . . . it [certainly] demands more
 7
     than an unadorned, the-defendant-unlawfully-harmed-me accusation.” Ashcroft v. Iqbal, 556 U.S.
 8
     662, 678 (2009) (quoting Twombly, 550 U.S. at 555). Although “the line between facts and legal
 9
     conclusions is not always easy to draw,” merely referencing the name of a product as forming the
10
     basis for a claim is not specific enough to save a claim from dismissal under Rule 12(b)(6). See,
11
     e.g., Elan Microelectronics Corp. v. Apple, Inc., No. C 09-01531 RS, 2009 WL 2972374, at *2
12
     (N.D. Cal. Sept. 14, 2009) (dismissing patent claim as inadequately pleaded where Apple alleged
13
     infringement through “design, marketing, manufacture and/or sale of touch sensitive input devices
14
     or touchpads, including . . . the Smart–Pad”).
15
             Plaintiffs’ sprinkling of three passing references to AdMob and Cloud Messaging
16
     throughout its 300-paragraph SAC falls far short of Rule 8’s pleading requirements. For example,
17
     Plaintiffs aver that “Firebase SDK scripts . . . cause the copying and duplication of browsing data
18
     to be sent to Google, for at least Google Analytics for Firebase, AdMob, and Cloud Messaging for
19
     Firebase.” SAC ¶ 58. Formerly, this paragraph only mentioned GA for Firebase. As it now stands,
20
     it says nothing of what AdMob or Cloud Messaging are (e.g., settings, products, services, features,
21
     toolkits, teams, widgets, etc.), how they work, what aspect of each violates the law, or how they
22
     violate the law. Not to mention AdMob is not even part of the Firebase SDK toolkit that Plaintiffs
23
     so cavalierly accused of secretly tracking user behavior unbeknownst to anyone via “secret scripts.”5
24

25
     5
       See https://firebase.google.com/ (listing 18 products within Firebase SDK). Plaintiffs incorrectly
26   allege that AdMob is a “such as” product of Firebase SDK without explanation or citation, but it’s
27   not. See SAC ¶ 58; id. ¶ 245 (“Firebase SDK products such as . . . AdMob”). The difference isn’t
     critical to resolution of this motion; Google notes it here only to underline the continuing looseness
28   of Plaintiffs’ conclusory “factual” allegations.
                                            7
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 1           The rest of the complaint does no more to reveal what AdMob and Cloud Messaging are, or

 2   how they support Plaintiffs’ theories. These allegations are insufficient to put Google on notice of

 3   its wrongdoing under Rule 8. See Elan Microelectronics, 2009 WL 2972374, at *2.6 The Court

 4   should construe them as separate theories of the case and dismiss them, just as it did with the secret

 5   scripts theory. MTD Order at 11–12.7

 6           To the extent Plaintiffs’ allegations relating to AdMob and Cloud Messaging are an attempt

 7   to resurrect their “secret scripts” theory, that effort flounders on Rule 9’s heightened pleading

 8   standard, just as before. MTD Order at 11–12. Each time the SAC mentions AdMob and Cloud

 9   Messaging it contends those products are part of a hidden scheme to collect data. SAC ¶ 6 (alleging

10   Google “surreptitiously” collects user data through “backdoors made available through and in

11   connection with . . . AdMob and Cloud Messaging”); id. ¶ 58 (same; and alleging AdMob and Cloud

12   Messaging “scripts are hidden from users and run without any notice” . . . “surreptitiously

13   provid[ing] app browsing data to Google”).

14

15

16   6
       See also, e.g., Anderson v. Kimpton Hotel & Rest. Grp., LLC, No. 19-CV-01860-MMC, 2019 WL
     3753308, at *5 (N.D. Cal. Aug. 8, 2019) (dismissing breach of contract claim for failure to plead
17
     facts supporting the conclusory assertions that defendant did not “act in a ‘reasonable’ and
18   ‘appropriate’ manner and failed to take ‘obligatory,’ ‘sufficient,’ and ‘adequate’ steps to protect
     plaintiffs’ PII”); Gonzales v. Uber Techs., Inc., 305 F. Supp. 3d 1078, 1090 (N.D. Cal. 2018)
19   (“boilerplate[] allegations” on how CDAFA was violated “do not survive Rule 8”).
     7
20     When appropriate, courts dismiss parts of claims, effectively striking portions of a complaint
     where there is no viable theory or facts supporting recovery under that theory. See, e.g., Hill v. Opus
21   Corp., 841 F. Supp. 2d 1070, 1082 (C.D. Cal. 2011) (finding claim “separable” and granting Rule
     12(b)(6) motion as to part of single claim that was preempted by ERISA); Schulken v. Washington
22   Mut. Bank, Henderson, NV, No. 09-CV-02708-LHK, 2010 WL 3987680, at *5 (N.D. Cal. Oct. 12,
     2010) (dismissing portion of Truth in Lending Act claim premised on a March 13 letter and requiring
23
     Plaintiffs to amend their complaint to omit allegations about the March 13 letter); Weiland Sliding
24   Doors & Windows, Inc. v. Panda Windows & Doors, LLC, 814 F. Supp. 2d 1033, 1042 (S.D. Cal.
     2011) (assessing intentional interference claim based on three underlying communications and
25   dismissing in parts for failure to plead a cause of action); Ruskell v. North County Fire Protection
     District of Monterey County, No. 15-CV-03540-BLF, 2016 WL 1365949, at *4–5 (N.D. Cal. Apr.
26   6, 2016) (granting without leave to amend a motion to dismiss portions of claims seeking punitive
27   damages that were not available as a matter of law); USA Petroleum Co. v. Atl. Richfield, Co., 577
     F. Supp. 1296, 1308 (C.D. Cal. 1983) (selectively dismissing legally infirm bases for antitrust
28   claims).
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 1           This Court dismissed Plaintiffs’ “secret scripts” theory because plaintiffs failed to allege

 2   “the ‘who, what, when, where, and how” of the misconduct charged,’” including “when the ‘secret

 3   scripts’ plot was hatched; which Google departments (let alone employees) were involved; and

 4   anything resembling a particular date, time, or place.” MTD Order at 11 (quoting Vess v. Ciba-

 5   Geigy Corp. USA, 317 F.3d 1097, 1104 (9th Cir. 2003)). And none of Plaintiffs’ new allegations

 6   about AdMob and Cloud Messaging can save that secret scripts theory, because none of them

 7   include any factual matter—they are, literally, just the bare utterance of the names of two products.

 8           Even if the Court does not dismiss the AdMob and Cloud Messaging theories outright under

 9   Rule 8 and 9, it should, at a minimum, strike the allegations under Rule 12(f). The unexplained

10   references to these two products are so impertinent and immaterial that they should be stricken “to

11   avoid the expenditure of time and money that must arise from litigating spurious issues.” Fantasy,

12   984 F.2d at 1527; Fed. R. Civ. P. 12(f). Indeed, the impropriety of these new allegations is

13   underscored by the fact that Plaintiffs abandoned all three claims that the Court dismissed with leave

14   to amend, meaning there were no claims to salvage. The Court should reject this transparent effort

15   to triple the scope of discovery in this case without a good faith basis.8

16          B.     Plaintiffs fail to state a claim for breach of contract because they have not
                   identified an enforceable contract provision that Google breached.
17
             To state a claim for breach of contract, Plaintiffs must allege: (1) the existence of an
18
     enforceable contract, (2) their performance under that contract, (3) Google’s breach of the contract,
19
     and (4) damages. In re Facebook, Inc. Internet Tracking Litig., 956 F.3d 589, 610 (9th Cir. 2020)
20
     (citing Oasis W. Realty, LLC v. Goldman, 51 Cal. 4th 811, 821 (2011). Plaintiffs have not identified
21
     a specific, enforceable contract provision that Google purportedly breached.
22
             The “existence of an enforceable contract is an essential element” of a breach of contract
23
     claim. Banga v. Kanios, No. 16-cv-04270-RS, 2016 WL 7230870, at *5 (N.D. Cal. Dec. 14, 2016)
24

25
     8
       To the extent Plaintiffs attempt to amend their allegations again through their opposition brief,
26   Google reserves the right to respond in its reply brief—though the Court should not consider
27   allegations made in a brief in any event. La Fosse v. Sanderson Farms, Inc., No. 19-CV-06570-RS,
     2020 WL 3617786, at *3 (N.D. Cal. July 2, 2020) (citing Tietsworth v. Sears, 720 F. Supp. 2d 1123,
28   1145 (N.D. Cal. 2010)).
                                            9
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 1   (citing Oasis W. Realty, 51 Cal. 4th at 821). An enforceable contract under California law “‘requires

 2   parties    capable    of   consent,    the   consent    of   those   parties,     a   lawful   object,   and

 3   sufficient consideration.’” Semi-Materials Co. v. SunPods, Inc., No. 11-CV-06719-LHK, 2012 WL

 4   3962487, at *3 (N.D. Cal. Sept. 10, 2012) (quoting ASP Props. Grp. v. Fard, Inc., 133 Cal. App.

 5   4th 1257, 1268–69 (2005)). Each separate contract requires separate consideration. Wiskind v.

 6   JPMorgan Chase Bank, N.A., No. 14-cv-04223 NC, 2015 WL 1798962, at *7 (N.D. Cal. Apr. 17,

 7   2015) (“doing or promising to do what one is already legally bound to do cannot be consideration”).

 8   “In addition, ‘for a contract to be enforceable, a promise must be definite enough that a court can

 9   determine the scope of the duty[,] and the limits of performance must be sufficiently defined to

10   provide a rational basis for the assessment of damages.’” Semi-Materials, 2012 WL 3962487, at *3.

11             Plaintiffs’ breach of contract claim falters at the start: the SAC fails to identify breach of any

12   enforceable provisions in Google’s Terms of Service, which govern Plaintiffs’ use of “Google

13   services.” Santacana Decl., Ex. 1 at 1–2. Plaintiffs allege that under a purported “express contract[]”

14   Google is “require[ed] . . . not to save their activity data.” SAC ¶ 243. Yet Plaintiffs conspicuously

15   fail to identify “specific provisions” in the Terms of Service that create this purported obligation,

16   because there are none. Young v. Facebook, Inc., 790 F. Supp. 2d 1110, 1117 (N.D. Cal. 2011) (to

17   survive a motion to dismiss, a plaintiff must allege the “specific provisions” creating the obligation).

18   To be sure, Plaintiffs sometimes point generally to the Terms of Service as the basis of their breach

19   of contract claim. See SAC ¶ 242 (“[t]hese commitments. . . as incorporated into Google’s Terms

20   of Service . . . constitute express promises by Google”); cf. id. ¶ 244 (“Plaintiffs and Class members

21   entered into implied contracts, separate and apart from Google’s Terms of Service”). But that is

22   precisely the type of conclusory, unadorned accusation that must be dismissed out of hand. See

23   Ashcroft, 556 U.S. at 678. Unsurprisingly, courts routinely dismiss breach of contract claims on that

24   ground alone. See Young, 790 F. Supp. 2d at 1117, 1119 (dismissing for failure to identify an

25   applicable contract provision); Bassam v. Bank of Am., No. CV 15–00587 MMM (FFMx), 2015

26   WL 12697873, at *10 (C.D. Cal. Nov. 3, 2015) (same). This Court need not let Plaintiffs’ claim

27   pass the starting gate either.

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                                         10
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 1            Unable to rely on the Terms of Service, Plaintiffs reach beyond its four corners in an effort

 2   to cobble together a contract claim. Plaintiffs first turn to three extra-contractual representations:

 3   (1) an explanatory phrase in Google’s Privacy Policy, SAC ¶¶ 238, 242; (2) language from a WAA

 4   Help Center support page explaining the WAA feature, id. ¶¶ 240, 242; and (3) the “same” WAA

 5   Help Center language that was also shown on Android devices, id. ¶¶ 240–42.

 6            In the alternative, Plaintiffs allege an implied agreement stitched together from some

 7   combination of these representations and Google’s conduct. SAC ¶ 244. None are sufficient alone

 8   or together to support Plaintiffs’ breach of contract claim.

 9                1.        Plaintiffs have not identified an enforceable provision in the Privacy
                            Policy or a corresponding breach.
10
              Plaintiffs begin by directing this Court to Google’s Privacy Policy as one basis for its claim.
11
     See SAC ¶ 238 (citing SAC, Ex. A (Google’s Privacy Policy effective July 1, 2020)). Plaintiffs
12
     identify part of a sentence that they allege forms the basis of an enforceable promise: “My Activity
13
     allows you to review and control data that’s created when you use Google services. . . .” Id. ¶ 238
14
     (emphases omitted); id. ¶ 242. According to Plaintiffs, “Google breached [that] promise[] by
15
     continuing to intercept . . . communications [with third-party apps] . . . while Plaintiffs and Class
16
     members had Web & App Activity turned off.” Id. ¶ 245. There are at least two problems with this
17
     claim.
18
              First, the provision of the Privacy Policy that Plaintiffs point this Court to is insufficient to
19
     sustain a breach of contract claim.9 The statement that “My Activity allows you to review and
20
     control data that’s created when you use Google services,” SAC ¶ 238 (emphases omitted), contains
21
     “no explicit promissory language” that would impose a contractual obligation on Google, Block v.
22
     eBay, Inc., 747 F.3d 1135, 1138–40 (9th Cir. 2014). In Block, the Ninth Circuit analyzed the
23
     following representations in eBay’s User Agreement:
24

25

26   9
       The Privacy Policy Plaintiffs identify is dated July 1, 2020. SAC, Ex. A at 2. The Terms of
27   Service effective at that time unequivocally stated that the “Privacy Policy . . . [is] not part of
     these terms.” Santacana Decl., Ex. 1 at 1. The privacy policy is described as a “resource[]
28   available to [users] to answer common questions and to set expectations.” Id. at 4.
                                            11
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 1                 You acknowledge that we are not a traditional auctioneer. Instead, our sites
                   are venues to allow anyone to offer, sell, and buy just about anything, at
 2                 any[ ]time, from anywhere, in a variety of pricing formats and locations,
                   such as stores, fixed price formats and auction-style formats. We are not
 3
                   involved in the actual transaction between buyers and sellers.
 4
     Id. at 1138–39. Even though the language states what eBay does and does not do, the court held that
 5
     it was not promissory in nature. Indeed, “[t]he provision’s explanatory function is not confusing:
 6
     . . . [it] is a broad description of the eBay marketplace” and cannot be read as “a promise not [to be]
 7
     involved in the actual transaction between buyers and sellers.” Id. at 1139. The Court also looked
 8
     to other portions of the User Agreement to confirm that the agreement as a whole is “written in an
 9
     informal, conversational style, indicating that the agreement is not simply a set of legally
10
     enforceable promises, but also an introduction to the eBay marketplace for new users.” Id. Because
11
     the provision the plaintiff identified as the basis for its breach of contract case was merely
12
     “explanatory” and therefore not an “enforceable promise,” the Ninth Circuit affirmed dismissal of
13
     the breach of contract claim. Id. at 1139–40. Applying that rule is even easier here where the
14
     representation Plaintiffs identify as the basis for their claim contains even less promissory-style
15
     language than the one at issue in eBay. Unlike the statement in Block that “[eBay is] not involved
16
     in the actual transaction,” the statement here that “My Activity allows you to review and control
17
     data that’s created when you use Google services,” says nothing about what Google does or does
18
     not do. Instead, it explains what the user (“you”) can do.
19
            At most, the language Plaintiffs point to informs users that they can adjust their data settings
20
     when they use Google services and can review that data; it doesn’t commit Google to providing any
21
     settings in particular. And a statement that “merely provides information[,] not commitments”—
22
     even if contained within a binding contract—cannot form the basis of a breach-of-contract claim.
23
     Facebook, Inc. Internet Tracking Litig., 956 F.3d at 610–11 (affirming dismissal of breach-of-
24
     contract claim premised on Facebook’s alleged violation of its Data Use Policy because the policy
25
     only provided information). Indeed, the Privacy Policy explicitly states that it is intended to provide
26
     information: “[t]his Privacy Policy is meant to help you understand what information we collect,
27

28
                                        12
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 1   why we collect it, and how you can update, manage, export, and delete your information.” SAC,

 2   Ex. A at 2; see also id. (“To help explain things as clearly as possible . . .”).
 3           The court’s analysis in In re Google Location Hist. Litig., No. 5:18-cv-05062-EJD, 2021

 4   WL 519380, at *9 (N.D. Cal. Jan. 25, 2021), is particularly instructive because it assesses a

 5   statement resembling the one at issue here. That court considered a representation in Google’s

 6   Terms of Service that “states that users ‘can adjust [their] privacy settings to control what [Google]

 7   collect[s] and how [their] information is used.’” Id. The court found the “provision does not actually

 8   bind Google to offer any particular privacy settings, but rather, merely explains to users where they

 9   can go to adjust their settings.” Id. The same analysis applies with equal force here. The Privacy

10   Policy statement Plaintiffs identify merely explains “that users ‘can adjust [their] [My Activity]

11   settings to control what [Google] collect[s] and how [their] information is used.’” Id. It does not

12   bind Google to offer a specific WAA setting. See id.

13           Second, Plaintiffs cannot adequately allege breach of the alleged promise that “My Activity

14   allows you to review and control data that’s created when you use Google services.” Plaintiffs

15   concede that Google offered a privacy control in the My Account dashboard—indeed, the settings

16   in that dashboard, of which there are several, form the basis of Plaintiffs’ other claims. And Plaintiffs

17   don’t “allege that they had no control whatsoever over their” data via My Account settings. Google

18   Location Hist. Litig., 2021 WL 519380, at *9. As in Google Location Hist. Litig, Plaintiffs here

19   “allege that they were misled about the effect of the [WAA] setting specifically,” but that is not the

20   same as a contract breach. See id. Unsurprisingly, the alleged breach Plaintiffs identify—that

21   “Google . . . continu[ed] to intercept [app-interaction] communications to collect and use such

22   activity data”—has nothing to do with whether Plaintiffs can use My Activity “to review and control

23   data.” SAC ¶ 245. This mismatch between the alleged promise and alleged breach is exactly the

24   type that courts find sufficient cause for dismissal. See Facebook, Inc. Internet Tracking Litig., 956

25   F.3d at 610 & n.11 (plaintiffs failed adequately to plead breach of contract even though Facebook

26   admittedly tracked users because Facebook’s Privacy Policy said “‘[i]f you log out of Facebook. . .

27   , [third-party websites] will not be able to access your information,” which “does not make any

28   promises regarding Facebook’s receipt of data”); see also In re Google Assistant Priv. Litig., 457 F.
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 1   Supp. 3d 797, 833 (N.D. Cal. 2020) (concluding Plaintiffs failed to plead a breach when Privacy

 2   Policy stated Google could “share users’ personal information” in “four circumstances” and

 3   Plaintiffs did not address three of them).

 4               2.        The Help Center page is not an enforceable contract.

 5          In the alternative, Plaintiffs put forward the WAA Help Center page as a basis for their
 6   contract claim. SAC ¶ 240. That page explains what types of activity are “saved as Web & App
 7   Activity,” and that “[t]o let Google save this information: . . . Web & App Activity must be on.” Id.
 8   Plaintiffs assert that the Help Center page is an enforceable contract “either standing alone or as
 9   incorporated into Google’s Terms of Service and/or Privacy Policy.” SAC ¶ 242. Not so.
10          First, the Web & App Activity Help Center is not a stand-alone contract. Plaintiffs cannot
11   allege separate, adequate consideration for the Help page beyond what they provided in exchange
12   for the Terms of Service. That is why courts do not hesitate to dismiss breach of contract claims in
13   such circumstances. See Wiskind, 2015 WL 1798962, at *7; see also, e.g., Dunkel v. eBay Inc., No.
14   5:12-CV-01452-EJD, 2014 WL 1117886, at *4 (N.D. Cal. Mar. 19, 2014) (dismissing for “fail[ure]
15   to properly allege the existence of an agreement, particularly in . . . how the ‘Help’ articles
16   themselves constitute a contract.”).
17          Second, the WAA Help Center page is not incorporated by reference into the Terms of
18   Service or Privacy Policy. To “properly incorporate another document, the [contract] . . . ‘[must at
19   least] guide[] the reader to the incorporated document’” by specifically “referenc[ing]” it.
20   Facebook, Inc. Internet Tracking Litig., 956 F.3d at 610 (citing Shaw v. Regents of Univ. of
21   California, 58 Cal. App. 4th 44, 54 (1997)). At a minimum, “the reference must be [1] clear and
22   unequivocal, the [2] reference must be called to the attention of the other party and he must consent
23   thereto, and [3] the terms of the incorporated document must be known or easily available to the
24   contracting parties.” Woods v. Google Inc., No. 05:11-cv-1263-JF, 2011 WL 3501403, at *3 (N.D.
25   Cal. Aug. 10, 2011). The SAC does not properly allege incorporation.
26          Nor can it. Neither the Terms of Service nor the Privacy Policy reference the WAA Help
27   Center page. The Help page therefore cannot be incorporated in, or otherwise be a part of, Plaintiffs’
28   alleged contract with Google. The Ninth Circuit’s decision in Facebook, Inc. Internet Tracking
                                                  14
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 1   Litig., 956 F.3d at 589, is dispositive. There, the parties agreed that Facebook’s Statement of Rights

 2   and Responsibilities (“SRR”) was a contract with its users. Id. at 610. In that case, the SRR “[did]

 3   not contain [the] explicit promise not to track logged-out users” that the plaintiffs sought to rely on

 4   as the basis of their breach of contract claim. Id. For that allegation, the plaintiffs instead relied, in

 5   part, on language from Facebook’s Data Use Policy and Help Center pages. Id. But the SRR “does

 6   not reference a Data Use Policy and thus, it does not guide the reader to the incorporated document.”

 7   Id. “As such, as a matter of law, any promise not to track logged-out users therein was not

 8   incorporated.” Id. The same is true here. See id.; see also cf. In re Google Assistant Priv. Litig., 457

 9   F. Supp. 3d 797, 832 (N.D. Cal. 2020) (concluding the “Google Nest Help Center” and the “Google

10   Safety Center” page were not binding because they were not incorporated by reference into the

11   Terms of Service which only contained a “vague statement” that “additional terms” apply).

12           Further, even if an explicit reference to the Help Center page were unnecessary, Plaintiffs’

13   claim would still fail because neither the Terms of Service nor the Privacy Policy “clear[ly] and

14   unequivocal[ly]” “guide[]” the reader to the WAA Help Center page. See Woods, 2011 WL

15   3501403, at *3.10

16               3.        The Android Google Account help statements are not an enforceable
                           contract.
17
             Plaintiffs’ final effort to manufacture an enforceable contract based on written
18
     representations is even more strained than their reliance on the WAA Help Center page. Plaintiffs
19
     allege that the “same Google commitments” as those in the WAA Help Center page “were made
20
     through Google-presented and required controls for the Android device manufacturers.” SAC
21
     ¶ 241. They contend these are valid either by incorporation by reference or standing alone. But just
22

23
     10
24      Plaintiffs make no effort to allege the Terms of Service are linked to the WAA Help Center page.
     And Plaintiffs’ allegations charting a path between the Privacy Policy and WAA Help Center page
25   are far too attenuated to be a clear guide, as they require a user to navigate through at least three
     hyperlinks before arriving at the WAA Help Center page Plaintiffs contend is part of their contract
26   with Google. SAC ¶¶ 238, 240 (Privacy Policy contains a “Go to My Activity” link, which “link[s]
27   to a Google webpage with the Web & App Activity controls,” which itself has a “hyperlink with the
     words ‘Learn more,’” which leads to the WAA Help Page (after clicking through an Activity
28   controls page)).
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 1   as with the Help Center page, neither the Terms of Service nor the Privacy Policy mention support

 2   language shown on Android OS phones, so as a matter of law, the language is not incorporated into

 3   a contract between Google and Plaintiffs. See Facebook, Inc. Internet Tracking Litig., 956 F.3d at

 4   610–11. Unsurprisingly, Plaintiffs fail to allege any facts suggesting they provided separate

 5   consideration for Android support language.

 6               4.         There is no implied contract, either.

 7          Under California law, “[a]n implied in fact contract has the same elements as an express
 8   contract, except that the offer and acceptance are not expressed in words but rather are implied from
 9   the parties’ conduct.” Benton v. Baker Hughes, No. CV 12-07735 MMM (MRWx), 2013 WL
10   3353636, at *6 (C.D. Cal. June 30, 2013). It is also subject to the same Rule 8 pleading standard. In
11   other words, to survive a motion to dismiss, a plaintiff must plead details including “when the
12   implied contract took effect, how it was formed, or its specific terms.” Allen v. Nextera Energy
13   Operating Servs., LLC, No. C 12-01610 LB, 2012 WL 1918930, at *2 (N.D. Cal. May 25, 2012).
14          Plaintiffs here fall far short of that pleading requirement. They contend the supposed implied
15   contract terms were set by Google’s unspecified “communications describing the function of the
16   Web & App Activity setting in conjunction with its conduct in providing a control to change that
17   setting.” SAC ¶ 244. That is insufficient to allege an implied contract, which requires Plaintiffs to
18   allege underlying “facts from which” the conduct forming the purported promise is implied.
19   Worldwide Media, Inc. v. Twitter, Inc., No. 17-cv-07335-VKD, 2018 WL 5304852, at *6–7 (N.D.
20   Cal. Oct. 24, 2018). Plaintiffs’ reference to “communications” and “conduct,” SAC ¶ 244, does not
21   even “make clear whether the breach is based on the terms of a written” or “implied-in-fact
22   contract.” Coffen v. Home Depot U.S.A. Inc., No. 16-cv-03302-PJH, 2016 WL 4719273, at *5 (N.D.
23   Cal. Sept. 9, 2016).
24          The implied contract claim fails for the separate reason that (i) an undisputed “valid, express
25   contract . . . embrac[es] the same subject matter,” Berkla v. Corel Corp., 302 F.3d 909, 918 (9th Cir.
26   2002), and (ii) Plaintiffs “have not sufficiently alleged a distinct claim for breach of implied
27   contract” “distinguish[ed]” from their express contract claim, see Mountain View Surgical Ctr. v.
28   Cigna Health Corp., No. CV 13-08083 DDP (AGRx), 2015 WL 5456592, at *2 (C.D. Cal. Sept.
                                                16
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 1   17, 2015). Rule 8 allows alternative pleading, but where, as here, “the parties do not dispute the

 2   existence of . . . an enforceable express contract” (the Terms of Service agreement) “cover[ing] the

 3   same subject matter” (Plaintiffs’ use of Google’s services) and prohibiting the same conduct

 4   (requiring Google not to save their activity data11) “there can be no cause of action” arising from

 5   either an alleged implied- or quasi-contract. Be In, Inc. v. Google Inc., No. 12-CV-03373-LHK,

 6   2013 WL 5568706, at *5 (N.D. Cal. Oct. 9, 2013); see also Tota Coverage, Inc. v. Cendant

 7   Settlement Servs. Grp., Inc., 252 F. App’x 123, 126 (9th Cir. 2007).

 8         C.       Plaintiffs’ new factual allegations confirm their California Invasion of Privacy
                    Act claim under section 631 should be dismissed.
 9
             Plaintiffs have amended their complaint in a number of ways that clarify their theory of
10
     unauthorized interception in the wake of the Court’s ruling that Plaintiffs failed to plead a CIPA
11
     section 632 claim. Their clarified allegations also compel dismissal of their CIPA section 631 claim
12
     for two reasons: (1) Plaintiffs fail to allege an “interception,” and (2) even if there is an interception,
13
     they do not allege that it occurs “in transit.”
14
                 1.         Plaintiffs’ allegations concerning the functionality of GA for Firebase
15                          have changed slightly, but materially.
16
             “Penal Code section 631, subdivision (a) (the ‘wiretap’ section) provides that it is illegal for
17
     any person to tap or make any unauthorized connection with any telephone line, etc. (Section 631
18
     does not address nor proscribe the use of ‘eavesdropping’ techniques to intercept
19
     communications.).” People v. Ratekin, 212 Cal. App. 3d 1165, 1168 (Ct. App. 1989) (emphasis
20
     omitted). Critically, section 631 applies to intercepting a communication while it is in transit over
21
     a line. Id. By contrast, section 632 applies to recordings of communications. Id. For example, in a
22
     phone conversation, it’s impossible for one participant to wiretap the other—the conduct proscribed
23
     by section 631—because the participant is not a third party and she therefore cannot “intercept” the
24
     communication “in transit.” But a participant to a conversation can violate section 632 by unlawfully
25
     recording the conversation, subject to certain heightened requirements. California courts have
26

27   11
      Compare SAC ¶ 243 (“requiring Google not to save their activity data”) with id. ¶ 244 (“requiring
28   Google not to intercept or save such information”).
                                         17
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 1   repeatedly recognized this distinction, and the legislature’s intent in creating it. See id.

 2          At the last motion to dismiss, Plaintiffs argued that Google violated CIPA section 632

 3   because GA for Firebase made a recording of confidential communications between users and app

 4   developers. This Court held that Plaintiffs failed to allege a section 632 CIPA claim because of the

 5   participation of the app developers and the nature of the communications alleged.

 6          Pleading in the alternative, however, Plaintiffs argued that Google violated CIPA section

 7   631. Google argued that GA for Firebase, as alleged and publicly disclosed, doesn’t “intercept”

 8   communications; instead it saves information on a user’s device, and subsequently uploads

 9   information to Google, where it is stored for the app developer’s analysis, akin to a dictaphone. See

10   Mot. to Dismiss FAC, ECF No. 62 at 14; Reply iso Mot. to Dismiss FAC, ECF No. 82 at 3

11   (discussing functionality), 12 (discussing that it is app developers, not Google, who integrate GA

12   for Firebase into their apps). To avoid dismissal, Plaintiffs argued strenuously that Google was

13   wrong, and that in fact, both GA for Firebase and Google’s “secret scripts” got in between users and

14   app developers while the transmission was occurring. See Pl’s Opp. to Mot. to Dismiss FAC, ECF

15   No. at 71. Plaintiffs’ alternative pleading passed muster. The Court allowed the section 631 claim

16   to proceed based on Plaintiffs’ allegations about how GA for Firebase works. MTD Order at 13.

17          As Plaintiffs must now appreciate thanks to discovery, the allegations that won the day on

18   section 631 were factually wrong, and the SAC doesn’t stand by them anymore. Through

19   amendment, Plaintiffs’ SAC now pleads Plaintiffs out of a section 631 claim: it alleges that it is the

20   user’s device that records communications and “transmit[s] the intercepted browsing data”; and,

21   that transmission occurs not while the original communication is in transit, but in a separate

22   transmission, using “a background process called Google Mobile Service (GMS), which aggregates

23   similarly intercepted messages across all the apps using Firebase SDK. SAC ¶¶ 13, 44, 46, 54; see

24   also SAC ¶ 56 (“Firebase records that interaction by copying and transmitting to Google’s servers

25   through the device at least those five parameters.”); id. ¶ 58.

26          What is now paragraph 46 in Plaintiffs’ redlined SAC underscores the point: “The Firebase

27   SDK scripts cause the apps device to intercept these communications and send surreptitious copies
28   of them to Google even if the user is not engaged with any Google site or functionality.” ECF No.
                                                     18
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 1   112-5 at 16:15-22. Although this paragraph ostensibly applied to Plaintiffs’ “secret scripts” theory

 2   before, Plaintiffs have kept it in amended form as a description of GA for Firebase. It now alleges

 3   that the path of the alleged communications does not involve an interception between a user and an

 4   “app,” but rather a duplication and recording separate and apart from the communication itself:

 5         User Device → App Developer’s Server → User Device → Duplication → Google
 6   Likewise, gone from Plaintiffs’ SAC is the allegation in what was paragraph 245, which alleged

 7   simultaneous interception. See ECF No. 112-5 at 74:17–19. Instead, the only allegation of

 8   simultaneity with respect to GA for Firebase that remains is at paragraph 49 of the SAC, which

 9   merely alleges that after the recording and copying of data, GA for Firebase “overrid[es] device and

10   account level controls” and “simultaneously transmits the browsing data.” SAC ¶ 49. But this is not

11   alleged to occur simultaneous with the communication, nor could it be; as alleged, GA for Firebase

12   must first record a completed communication, and then a background process that “aggregates” such

13   information from multiple apps subsequently sends the recording to Google for storage.

14                2.       Plaintiffs’ new allegations are fatal to their section 631 claim.

15          These clarifications coupled with the Court’s prior Order underline two critical factual
16   allegations about GA for Firebase: (1) the app developers’ incorporation of GA for Firebase is
17   known to users, and (2) Google receives information solely because the app developer’s inclusion
18   of GA for Firebase causes the “communication” to be recorded, duplicated, and subsequently sent
19   to Google. These two aspects of the alleged functionality of GA for Firebase are fatal to the section
20   631 claim.
21          California courts have long held that section 631 applies “only to eavesdropping by a third
22   party,” and unlike section 632, it does not apply “to recording by a participant to a conversation,”
23   Warden v. Kahn, 99 Cal. App. 3d 805, 811 (Ct. App. 1979), especially where the recording is made
24   by a disclosed third party at the participant’s invitation. See, e.g., Rogers v. Ulrich, 52 Cal. App. 3d
25   894, 898–99 (Ct. App. 1975) (no section 631 claim because “a recording made by a participant does
26   not intercept the message while it is in transit; the recording rather transcribes the message as it is
27   being received” and “participant recording was not meant to be included” in section 631).
28
                                        19
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 1           Plaintiffs fail to allege both the “interception,” and the “in transit” requirements of section

 2   631. See, e.g., Quigley v. Yelp, Inc., No. 17-CV-03771-RS, 2018 WL 7204066, at *4 (N.D. Cal. Jan.

 3   22, 2018) (where plaintiff alleged surveillance via websites and apps, dismissing CIPA section 631

 4   claim because plaintiff “has not alleged facts giving rise to an inference that his communications

 5   were intercepted while ‘in transit’ as required under Section 631 of the California Penal Code”); In

 6   re Yahoo Mail Litig., 308 F.R.D. 577, 591 (N.D. Cal. 2015) (“Should it be the case that Yahoo does

 7   not, in fact, intercept the emails of non-Yahoo Mail subscribers while those emails are ‘in transit,’

 8   but rather accesses those emails while the emails are ‘in electronic storage,’ then

 9   Plaintiffs’ CIPA [section 631] claim would be defeated.”); see also Konop v. Hawaiian Airlines,

10   Inc., 302 F.3d 868, 878 (9th Cir. 2002) (holding under Wiretap Act that “for a website . . . to be

11   ‘intercepted’ in violation of the Wiretap Act, it must be acquired during transmission, not while it

12   is in electronic storage”).

13           An interception must be the use of a device to get in between the sender and recipient of a

14   communication (1) while the communication is sent, and (2) without the consent of all parties. But

15   Plaintiffs now allege—as they must—that the communication between the user and the app is

16   completed before the information is transmitted to Google. SAC ¶ 46. Moreover, far from being a

17   stranger to the communication, Google is there at the app developer’s invitation, and Google’s

18   presence is known to the user. Indeed, in its Order on the last motion to dismiss, this Court

19   acknowledged that Plaintiffs did not contest that app developers are required to and do disclose the

20   use of GA for Firebase to their users. See MTD Order at 5:1–2, 7:25–27 (“Plaintiffs do not deny,

21   for each app at issue, reading and agreeing to a developer-generated disclosure—made at Google’s

22   behest—outlining the ‘use of the [GA for Firebase] Service . . . [to] collect[] and process[] data.’”).

23           The recent decision in Graham v. Noom, Inc., No. 20-CV-06903-LB, 2021 WL 1312765, at

24   *5 (N.D. Cal. Apr. 8, 2021), is instructive. There, the court held that there was no violation of section

25   631 where the website Noom’s “vendor [] provides a software service that captures its clients’ data,

26   hosts it on [the vendor’s] servers, and allows the clients to analyze their data” because the vendor’s

27   software was “a tool—like the tape recorder in Rogers,” and therefore the vendor’s software was

28   “an extension of Noom.” Importantly, the Noom court distinguished two other cases where section
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 1   631 violations had been found on similar facts. In each of the distinguished cases, the defendant was

 2   alleged to have intercepted communications for purposes of marketing (1) while the communication

 3   was “in transit,” and (2) where the communication served no purpose at all for the primary

 4   participant to the communication. See id. (discussing Revitch v. New Moosejaw, LLC, No. 18-CV-

 5   06827-VC, 2019 WL 5485330, at *1–2 (N.D. Cal. Oct. 23, 2019) and Facebook Internet Tracking

 6   Litig., 956 F.3d 589, 607–08 (9th Cir. 2020)). Those distinctions, both of which apply here,

 7   compelled a different result in Noom, and they do here, too.12

 8            In the parlance of the traditional wiretap case, the essence of Plaintiffs’ case is not that

 9   Google is listening on the phone line, without the knowledge of all parties. Google is on the phone

10   with the participants, both participants know it’s there, and both participants know Google is

11   transcribing the conversation for the app developer. But, Plaintiffs allege, when WAA is off, the

12   user doesn’t expect Google also to “save” the communications to the user’s “Google Account.” See

13   MTD Order at 8–9 (holding Plaintiffs’ lack of consent was adequately pleaded because, as alleged,

14   the description of WAA caused them reasonably to “fail[] to grasp” that their data would not just be

15

16
     12
       In Moosejaw, the plaintiff alleged that (1) Moosejaw allowed NaviStone’s software to intercept
17   browsing histories on its website while the communications were “in transit” because a parallel
     signal was created the moment a user clicked his mouse button and that (2) NaviStone’s purposes
18   were separate from Moosejaw’s. On those facts, the court allowed the section 631 claim to
     proceed, but not the section 632 claim, for reasons similar to those articulated by this Court on the
19
     last motion to dismiss. The court also noted that “Moosejaw is correct that it would not have
20   violated the statute by creating a record of Revitch’s communications and then later transmitting
     that record to NaviStone. That’s because section 631 is an eavesdropping statute, and sharing a
21   record is not eavesdropping.” Moosejaw, 2019 WL 5485330, at *2. In Facebook Internet Tracking
     Litigation, as the Ninth Circuit later held, the interception of communications by Facebook via a
22   “separate, but simultaneous, channel” constituted interception while in transit. Notably, the court
     did not opine on the other elements of a section 631 claim, and it was concerned that the “separate,
23
     but simultaneous” interception by Facebook would not otherwise be captured by the law (unlike
24   here, where recording is captured by section 632, subject to certain claim elements). Facebook
     Internet Tracking Litig., 956 F.3d at 596 (9th Cir. 2020), cert. denied sub nom. Facebook, Inc. v.
25   Davis, 141 S. Ct. 1684 (2021). Unlike both of these cases, the primary purpose of GA for Firebase
     is to serve the analytics needs of app developers; it is included only by the app developer’s
26   affirmative conduct, users are aware of its inclusion, and when WAA is on, users consent to
27   Google’s use of the recordings. The sole allegation that when WAA is off, users did not
     understand that Google would still receive the recordings at its servers may support other claims,
28   but it does not support a section 631 claim.
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 1   used by the app developer, but also “saved in a user’s ‘Google Account.’”). Plaintiffs have never

 2   taken issue with GA for Firebase logging activity data to the device; in fact, they concede that

 3   logging is publicly disclosed functionality. They alleged, however, that despite that public

 4   disclosure, “[t]his Google documentation [] does not disclose that these scripts transmit this

 5   information and surreptitious copies of the data to Google even when the user switches the ‘Web &

 6   App Activity’ feature off.” SAC ¶ 50. And while they formerly alleged this happened in between

 7   user and sender, their new “device”-focused allegations, and the absence of the simultaneity

 8   requirement, place beyond question the fact that the communications are first completed, the logging

 9   is a form of recording, and the transmissions are non-simultaneous.

10          Thus, taking Plaintiffs’ allegations as true, the logging of user activity data by GA for

11   Firebase on the user’s device is not the issue; it is merely whether the recorded communication is

12   sent not only to the app developer but also saved by Google for its own purposes. Like in Rogers,

13   app developers’ decision to “transcribe” communications with users via GA for Firebase—a process

14   disclosed to those users—does not convert the conduct into a violation of section 631.

15          Because Plaintiffs’ clarified allegations make clear that GA for Firebase does not “intercept”

16   communications while they are “in transit,” the Court should dismiss Plaintiffs’ section 631 claim.

17         D.      Plaintiffs’ request for non-restitutionary disgorgement and consequential
                   damages for their breach of contract claim should be stricken.
18
            Plaintiffs’ request for non-restitutionary disgorgement and consequential damages for their
19
     breach of contract claim runs headlong into the limitation of liability clause in the Terms of Service
20
     in effect (i) between 2014, when Google acquired Firebase, and March 30, 2020 and (ii) between
21
     March 31, 2020 and the present. The Terms of Service govern Plaintiffs’ use of “Google’s services,”
22
     and Plaintiffs rely on that agreement as an express contract between the parties. See SAC ¶ 242
23
     (“[t]hese commitments. . . as incorporated into Google’s Terms of Service . . . constitute express
24
     promises by Google”); cf. id. ¶ 244 (“Plaintiffs and Class members entered into implied contracts,
25
     separate and apart from Google’s Terms of Service”). To the extent the Court does not dismiss
26
     Plaintiffs’ breach of contract claim, it should strike Plaintiff’s request for non-restitutionary
27
     disgorgement and consequential damages. See SAC at 78–79, ¶ 249.
28
                                        22
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 1           “[A] motion to strike may be used to strike any part of the prayer for relief when the damages

 2   sought are not recoverable as a matter of law.” Bureerong v. Uvawas, 922 F. Supp. 1450, 1479, n.34

 3   (C.D. Cal. 1996). As a matter of California law, where an express contract governing the conduct

 4   of the parties contains a limitation-of-liability clause, it applies to limit recovery unless it is deemed

 5   unconscionable. Bass v. Facebook, Inc., 394 F. Supp. 3d 1024, 1037 (N.D. Cal. 2019) (“[T]he only

 6   way the breach of contract claims may move forward is if the limitation-of-liability clause is deemed

 7   unconscionable.”). Plaintiffs have not pleaded any facts establishing that the limitation-of-liability

 8   clause should be deemed unenforceable. Plaintiffs’ prayer for non-restitutionary disgorgement and

 9   consequential damages should thus be stricken.

10           Firebase acquisition (2014) to March 30, 2020: The limitation of liability clause in the
11   Terms of Service, effective between 2014 and March 30, 2020, limits Plaintiffs’ recovery to the
12   amount Plaintiffs paid to Google. Here, they do not dispute they paid nothing, so there can be no
13   consequential or non-restitutionary disgorgement damages to support their contract claim. Each of
14   three versions of the Terms of Service in effect during that time contain the following limitation:
15         WHEN PERMITTED BY LAW, GOOGLE, AND GOOGLE’S SUPPLIERS AND
           DISTRIBUTORS, WILL NOT BE RESPONSIBLE FOR LOST PROFITS,
16         REVENUES, OR DATA, FINANCIAL LOSSES OR INDIRECT, SPECIAL,
           CONSEQUENTIAL, EXEMPLARY, OR PUNITIVE DAMAGES.
17
           TO THE EXTENT PERMITTED BY LAW, THE TOTAL LIABILITY OF
18         GOOGLE, AND ITS SUPPLIERS AND DISTRIBUTORS, FOR ANY CLAIMS
19         UNDER THESE TERMS, INCLUDING FOR ANY IMPLIED WARRANTIES, IS
           LIMITED TO THE AMOUNT YOU PAID US TO USE THE SERVICES (OR,
20         IF WE CHOOSE, TO SUPPLYING YOU THE SERVICES AGAIN).

21         IN ALL CASES, GOOGLE, AND ITS SUPPLIERS AND DISTRIBUTORS, WILL
           NOT BE LIABLE FOR ANY LOSS OR DAMAGE THAT IS NOT REASONABLY
22         FORESEEABLE.
23   Santacana Decl., Ex. 2 at 5; id., Ex. 3 at 5 (same). Limitation of liability clauses like this one “‘have
24   long been recognized as valid in California,’” and have been applied to dismiss claims accordingly.
25   Huynh v. Quora, Inc., No. 18-CV-07597-BLF, 2019 WL 11502875, at *11 (N.D. Cal. Dec. 19,
26   2019) (quoting Food Safety Net Servs. v. Eco Safe Sys. USA, 209 Cal. App. 4th 1118, 1126 (2012)).
27           The Court’s decision in Bass is instructive. There, the Court was asked to determine whether
28   Facebook’s terms of service limitation-of-liability clause—which is analogous to the one at issue
                                                     23
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 1   here—foreclosed the plaintiffs’ contract-based claims arising out of a data breach. Compare Bass,

 2   394 F. Supp. 3d at 1037–38 with RJN, Ex. 2 at 5. The Court concluded Facebook’s limitation-of-

 3   liability clause was a “showstopper.” Bass, 394 F. Supp. 3d at 1037–38. The clause applied to all

 4   four contract-based claims—including one for non-restitutionary disgorgement—and directed

 5   dismissal of each. Id. at 1032, 1037; see also, e.g., Huynh, 2019 WL 11502875, at *10-11

 6   (dismissing breach of implied contract claim due to a limitation-of-liability clause). The same is

 7   true here.

 8           Indeed, Plaintiffs do not set forth any allegation that would support finding the limitation

 9   unenforceable. To do so, Plaintiffs would have to plead facts establishing both procedural and

10   substantive unconscionability. Darnaa, LLC v. Google LLC, 756 F. App'x 674, 675–76 (9th Cir.

11   2018). They have not (and cannot). See also Lewis v. YouTube, LLC, 244 Cal. App. 4th 118, 125

12   (2015) (limitation of liability clauses are particularly “appropriate when one party is offering a

13   service for free”).

14           Applying the limitation of liability clause, it is clear that, as a matter of law, Plaintiffs will

15   never be able to allege non-restitutionary disgorgement or consequential damages as viable theories

16   for recovery under their breach of contract claim. See Bass, 394 F. Supp. 3d at 1037–38.

17           March 30, 2020 to present: The limitation of liability clause in the Terms of Service,
18   effective between March 30, 2020 and present limits Plaintiffs’ recovery as well. That version
19   includes the following limitation: “Other than the rights and responsibilities described in this section

20   . . . Google won’t be responsible for any other losses, unless they’re caused by our breach of these

21   terms.” Santacana Decl., Ex. 1 at 11. Plaintiffs cannot recover damages for alleged breaches of terms

22   other than those in the Terms of Service; they cannot, for example, recover damages for breaches

23   of the WAA Help Center page, or any other extra-contractual language that has not been

24   incorporated by reference. Because Plaintiffs do not allege any other source for Google’s alleged

25   contractual obligations besides those documents, the limitation-of-liability clause in effect since

26   March 30, 2020 bars recovery too.

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      DEFENDANT GOOGLE LLC'S MOTION TO DISMISS SECOND AMENDED COMPLAINT
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 1         E.      Plaintiffs should be denied leave to amend.

 2          The Court should not grant Plaintiffs any more chances to expand the scope of this case.
 3   Plaintiffs have amended twice. In two earlier complaints, they alleged a theory they now plead no
 4   factual matter to support when given an opportunity to do so. And they seek to engulf the parties in
 5   a fishing expedition for two new products without providing any reason to believe it is plausible, or
 6   even possible, that those products violate Plaintiffs’ rights. Plaintiffs have had enough opportunity.
 7   This case is simple; it deals with the collection of data via GA for Firebase. That collection is
 8   anonymous, a fact Plaintiffs pointedly fail to allege. No further amendment is justified.
 9   V.    CONCLUSION
10          For the foregoing reasons, Google respectfully requests that the court dismiss Plaintiffs’ first
11   and second causes of action for breach of contract and violation of California Penal Code § 631,
12   with prejudice.
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14   Dated: June 25, 2021                                Respectfully submitted,
15                                                       WILLKIE FARR & GALLAGHER LLP

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                                                         By:    /s/ Benedict Y. Hur
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     DEFENDANT GOOGLE LLC'S MOTION TO DISMISS SECOND AMENDED COMPLAINT
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